 Case 8:18-cv-01524-BRM   Document 1    Filed 02/05/18   Page 1 of 4 PageID: 1




                                             SUPREME COURT OF NEW JERSEY
                                              D-13 September Term 2016
                                                        078302




IN THE MATTER OF

JOSEPH 0.    LENTO,
                                                    ORDER
                                                             F1L
AN ATTORNEY AT LAW

(Attorney No.    013252008)




     The Disciplinary Review Board having filed with the Court

its decision in ORB 15-425,      concluding that as a matter of

reciprocal discipline pursuant to Rule 1:20-14(E),            JOSEPH 0.

LENTO of NARBERTH,    PENNSYLVANIA,    who was admitted to the bar of

this State in 2008,    should be reprimanded based on discipline

imposed in the Commonwealth of Pennsylvania for unethical

conduct that in New Jersey violates RPC 5.4(a) (sharing legal

fees with non-lawyer),    RPC 7.3(d) (compensating or giving

anything of value to a person to recommend or secure the

lawyerTs employment by a client,       or as a reward for having made

a recommendation resulting in the lawyer’s employment by a

client),    and RPC 8.4(a) (violating the RPC5);

     And JOSEPH 0.    LENTO having been ordered to show cause why

he should not be disbarred or otherwise disciplined;
   Case 8:18-cv-01524-BRM     Document 1        Filed 02/05/18    Page 2 of 4 PageID: 2




        And the Court having determined from its review of the

matter that the appropriate quantum of discipline for

respondent’s unethical conduct is a one-year term of suspension

from practice,    retroactive to the date of the suspension imposed

in Pennsylvania,    effective July 17,           2013;

        And good cause appearing;

        It is ORDERED that JOSEPH D.           LENTO is suspended from the

practice of law for a period of one year,                effective July 17,

2013,    and until the further Order of the Court;               and it is

further

        ORDERED that respondent comply with Rule 1:20-20 dealing

with suspended attorneys;         and it is further

        ORDERED that pursuant to Rule 1:20-20(c),                respondent’s

failure to comply with the Affidavit of Compliance requirement

of Rule 1:20-20(b) (15)     may    (1)   preclude the Disciplinary Review

Board from considering respondent’s petition for reinstatement

for a period of up to six months from the date respondent files

proof of compliance;    (2)   be found to constitute a violation of

RPC 8.1(b)    and RPC 8.4(d);      and   (3)   provide a basis for an action

for contempt pursuant to Rule 1:10-2; and it is further

        ORDERED that the entire record of this matter be made a

permanent part of respondent’s file as an attorney at law of

this State;    and it is further

        ORDERED that respondent reimburse the Disciplinary

Oversight Committee for appropriate administrative costs and
 Case 8:18-cv-01524-BRM   Document 1    Filed 02/05/18   Page 3 of 4 PageID: 3

actual expenses incurred in the prosecution of this matter,                 as

provided in Rule 1:20-17.




     WITNESS,   the Honorable Stuart Rabner,       Chief Justice,      at

Trenton,   this 25th day of April,     2017.




                                            L
                                  CLERK OF THE SUPREME COURT
Case 8:18-cv-01524-BRM   Document 1   Filed 02/05/18   Page 4 of 4 PageID: 4
